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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

                                 Case No.: 1:23-CV-23933-FAM


  SUCESIÓN SIMON DIAZ MARQUEZ
  and BETTSYMAR DIAZ,

  Plaintiff/Counterclaim-Defendant,
  v.

  MIAMI FINE FOODS, LLC and
  AVI ASSOR,

  Defendants/Counterclaim-Plaintiff.
                                              /

            MIAMI FINE FOODS, LLC’S MOTION TO COMPEL DISCOVERY
               AND FOR AWARD OF ATTORNEYS’ FEES AND COSTS

         Pursuant to Federal Rule of Civil Procedure 37, Defendant/Counterclaim-Plaintiff Miami

  Fine Foods, LLC (“MFF”) moves to compel Plaintiff/Counterclaim-Defendant Sucesión Simon

  Diaz Marquez (“SSDM”) to produce documents that are responsive to MFF’s First Set of Request

  for Production (“RFP”), to answer MFF’s First Set of Interrogatories (“Interrogatories”), and to

  respond to MFF’s First Set of Requests for Admission (“RFA”).

                                        BACKGROUND

         On January 24, 2024, MFF propounded (i) 49 requests for production of documents, (ii)

  22 interrogatories, and (iii) 20 requests for admission upon SSDM (collectively “Discovery

  Requests”). SSDM served its written responses on March 8, 2024, objecting to all of the

  Discovery Requests.

         SSDM’s objections are two-fold. First, SSDM objected on the grounds that it “cannot

  adequately respond to [MFF]’s discovery requests” given its counsel’s forthcoming withdrawal

  and that MFF’s “refusal [to extend SSDM’s deadline to respond] is in direct contravention with
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  the local rules of the Court.” A copy of SSDM’s objections to MFF’s (i) RFP, (ii) Interrogatories,

  and (iii) RFA is attached hereto as Exhibits A, B, and C, respectively. This objection became moot

  by way of this Court’s order dated March 14, 2024, which directs SSDM to represent itself through

  Ms. Bettsimar Diaz and “comply with all deadlines” currently set in this action. Order Granting

  Plaintiff Counsel’s Motion to Withdraw as Counsel [ECF No. 33].

         In addition, SSDM objects to all MFF’s discovery requests on the grounds that they are

  overly broad, unduly burdensome, not proportionate to the needs and that they seek documents

  that are irrelevant, confidential, or otherwise protected by attorney-client privilege and work

  product. See generally Exhibits A, B, C. By way of example, SSDM objects to MFF’s third request

  for production as follows:

                 Plaintiff objects to this request as overly broad, unduly burdensome,
                 and not proportionate to the needs of this case to the extent that it
                 seeks “all documents.” Plaintiff objects to this request to the extent
                 that it seeks documents that are protected from discovery by the
                 attorney-client privilege, work product immunity, or other
                 applicable privilege. Plaintiff objects to this request to the extent the
                 requested documents are confidential or trade secret. Plaintiff
                 objects to this request to the extent that it calls for documents that
                 are at least equally available to Defendant, including through public
                 sources. Plaintiff objects to this request as seeking documents that
                 are not relevant.

  Exhibit A, at 5-6. Similarly, SSDM makes the following objection to MFF’s second interrogatory:

                 Plaintiff objects to this interrogatory as overly broad, unduly
                 burdensome, and not proportionate to the needs of this case to the
                 extent that it seeks identification of every single advertisement and
                 promotion. Plaintiff objects to this interrogatory in that the requested
                 information is not relevant. Plaintiff objects to this interrogatory in
                 that it calls for information that is at least equally available to
                 Defendant, including through public sources. Plaintiff objects to this
                 interrogatory to the extent that it seeks information that is a trade
                 secret or confidential. Plaintiff objects to this interrogatory as
                 containing multiple discrete subparts, each of which shall count
                 against the total number of interrogatories allotted under Fed. R. Civ.
                 P. 33.

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  Exhibit B, at 5-6. The same or substantially similar objections are raised by SSDM in response to

  MFF’s RFP and Interrogatories. See generally Exhibits A and B.

         Finally, SSDM objects to each request for admission on the grounds that “it improperly

  requests the admission of a legal and/or factual issue in dispute in this case.” Ex. C at 3-18. SSDM

  advances that “requests for admission may be used only to establish simple facts already known

  by the requesting party for which there is no real dispute.” Id. SSDM further objects to certain

  terms, such as “customers” (in the context of “you have not received emails from customers

  seeking to reach MFF”) and “aware” (in the context of “you were aware of MFF’s use of MFF’s

  Mark in 2022”), in that they are vague and ambiguous because MFF did not define them. Id.

         In summary, in response to MFF’s Discovery Requests, SSDM has not produced a single

  document, answered one interrogatory, or otherwise provided a single substantive response to

  MFF’s requests for admissions.

         Given the conclusory, boilerplate, and baseless objections, the undersigned attempted to

  resolve the issues without Court intervention. On March 11, 2024, the undersigned reached out to

  Haug Partners LLP, then-counsel of SSDM, to confer about SSDM’s deficient responses. Before

  the scheduled conferral took place, the Court granted Haug Partners’s motion to withdraw as

  SSDM’s counsel.      The undersigned then attempted to confer with Ms. Bettsimar Diaz by

  contacting her via email on March 15, 2024, asking her to propose three time slots on or before

  March 20, 2024, to discuss the discovery issues by phone. Without any response, the undersigned

  followed upon with Ms. Daiz on March 18, 2024. To date, Ms. Diaz has not responded to

  undersigned’s attempts to confer regarding the aforementioned discovery issues.




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                                            ARGUMENT

  I.     Legal Standard

         “Rule 37 allows a party to file a motion to compel discovery, and it considers evasive or

  incomplete disclosures as a failure to disclose when ruling on a motion to compel.” Steed v.

  EverHome Mortg. Co., 308 F. App’x 364, 370 (11th Cir. 2009) (citing FED. R. CIV. P. 37(a)(4)).

  “A court may impose sanctions where a party fails to provide answers, objections, or a written

  response to interrogatories or requests for production.” Id.

         “In the Eleventh Circuit, objections to discovery must be ‘plain enough and specific enough

  so that the court can understand in what way the [discovery is] alleged to be objectionable.’”

  Adelman v. BSA, 276 F.R.D. 681, 688 (S.D. Fla. 2011) (alteration in original) (quoting Panola

  Land Buyers Assoc. v. Shuman, 762 F.2d 1550, 1559 (11th Cir. 1985)). “The party resisting

  discovery must show specifically how . . . each interrogatory is not relevant or how each question

  is overly broad, burdensome, or oppressive.” Id. (alteration in original).

  II.    SSDM’s Conclusory, Boilerplate Objections to MFF’s RFP and Interrogatories are
         Invalid.

         SSDM’s objections to MFF’s RFP and Interrogatories are the classic conclusory,

  boilerplate objections which “judges in this district typically condemn . . . .” Adelman v. BSA, 276

  F.R.D. 681, 689 (S.D. Fla. 2011). In Azzia v. Royal Caribbean Cruises Ltd., this Court, applying

  the Eleventh Circuit’s standards, held that the following objections were boilerplate and invalid:

                 Defendant asserts that responding to the request would: (1) be
                 unduly burdensome; (2) require disclosure of information protected
                 by the work product privilege; (3) never lead to the discovery of
                 admissible evidence; and (4) result in the disclosure of non-
                 admissible evidence in the form of subsequent remedial measures.

  No. 15-24776-CV, 2018 U.S. Dist. LEXIS 242128, at *5-6 (S.D. Fla. Feb. 12, 2018). The Court

  explained: “the generalized nature of the objections doom their efficacy, and we cannot rely on the

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  broad statements contained within those objections to sustain Defendant’s opposition to producing

  information relevant to Plaintiffs’ suit.” Id.

         The objections at issue are nearly identical to those found by this Court to be invalid in

  Azzia. Here, SSDM objects that MFF’s Discovery Requests are overbroad, unduly burdensome,

  or otherwise seek irrelevant information. “As the party resisting discovery, [SSDM] has the burden

  to demonstrate specifically how the request is unreasonable or not relevant.” Adelman v. BSA, 276

  F.R.D. 681, 689 (S.D. Fla. 2011). SSDM did not explain why providing the information would

  unduly burden it or how MFF’ requests are not relevant. “Thus, it is clear that the objections are

  merely boilerplate answers, which cannot be accepted as valid.” Azzia v. Royal Caribbean Cruises

  Ltd No. 15-24776-CV, 2018 U.S. Dist. LEXIS 242128, at *5-6 (S.D. Fla. Feb. 12, 2018).

         MFF’s objections on the grounds of attorney-client privilege, work product, or trade secrets

  are equally insufficient. “The proponent of the privilege has the burden of proving its applicability.”

  Adelman v. BSA, 276 F.R.D. 681, 689 (S.D. Fla. 2011). In this respect, Local Rule 26.1(e) of this

  Court requires that objections based on privilege or trade secrets “identify the nature of the

  privilege (including work product),” describe the documents being withheld and “the general

  nature of the alleged trade secret (without revealing the alleged trade secret) contained therein.”

  Local Rule 26.1(e)(2) of the United States District Court for the Southern District of Florida.

  “Generalized objections asserting attorney-client privilege or the work product doctrine do not

  comply with the Local Rules.” SEC v. Merkin, No. 11-23585-CIV, 2012 U.S. Dist. LEXIS 108715,

  at *21 (S.D. Fla. Aug. 3, 2012) (“Parties must refrain from making vague, blanket objections in

  the form of: “Objection. This information is protected by attorney/client and/or work

  product privilege.’”).




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          SSDM’s “objections fail to indicate exactly how the request would require disclosure of

  information protected by the work product privilege.” Azzia v. Royal Caribbean Cruises Ltd., No.

  15-24776-CV, 2018 U.S. Dist. LEXIS 242128, at *5 (S.D. Fla. Feb. 12, 2018) (emphasis

  in original).

          “Boilerplate objections, such as those made by [SSDM], are inadequate, meaningless, and

  preserve nothing for the party making such objections.” SEC v. Merkin, No. 11-23585-CIV, 2012

  U.S. Dist. LEXIS 108715, at *22 (S.D. Fla. Aug. 3, 2012) (citing Adelman v. BSA, 276 F.R.D. 681,

  689 (S.D. Fla. 2011)). This Court should overrule SSDM’s boilerplate objections and order them

  to produce documents responsive to MFF’s RFP and provide answers to MFF’s Interrogatories.

  III.    SSDM’s Objections to MFF’s RFA are Improper.

          As to MFF’s RFA, SSDM objects on the grounds that “it improperly requests the admission

  of a legal and/or factual issue in dispute in this case” and that “requests for admission may be used

  only to establish simple facts already known by the requesting party for which there is no real

  dispute.” Ex. C at 3-18. This constitutes a frivolous objection.

          As a threshold matter, SSDM’s argument that requests for admission may be used only

  when there is no real dispute as to the facts is belied by Rule 36, which clearly allows a request for

  admission of “facts, the application of law to fact, or opinions about either.” FED. R. CIV. P.

  36(a)(1). All MFF’s requests direct SSDM to admit certain and specific facts. See Exhibit C, at 3-

  18. As such, the requests are valid.

          SSDM further objects to the term “customers” used by MFF for those requests asking

  SSDM to admit that SSDM has not received telephone calls and emails “from customers seeking

  to reach MFF.” Id. In a similar fashion, SSDM objects to the term “aware” for those requests

  asking SSMD to admit whether it was “aware of MFF’s use of MFF’s Mark” from 2016 to 2022.



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  Id. SSDM asserts that such terms are not defined by MFF which make the request “vague

  and ambiguous.” Id.

         Interestingly, SSDM used the same term “aware” in its interrogatories propounded

  upon MFF:

                 INTERROGATORY NO. 8: Describe the date and circumstances
                 of You first becoming aware of Plaintiff, the TIO SIMON Mark,
                 and Tío Simón.

                 INTERROGATORY NO. 12: Identify and describe each instance
                 of which You are aware in which any person has been in any way
                 confused, mistaken, or deceived as to the origin, sponsorship or
                 affiliation of any goods or services sold, provided, or offered for sale
                 under or in connection with the Infringing Mark and Plaintiff, Tío
                 Simón, Tío Simón’s estate, or the TIO SIMON Mark.

  Plaintiff’s First Set Interrogatories to Miami Fine Foods, LLC, at 7-8 attached hereto as Exhibit D.

  SSDM cannot now assert the term “aware” is vague because it used the same term in an identical

  fashion and context.

         In addition, SSDM cannot advance any good faith argument to substantiate that the terms

  “aware” and “customer” are vague. SSDM “should not strain to interpret a request in an artificially

  restrictive manner to avoid disclosure.” Florida Conference of Circuit Judges, et al., 2019 Florida

  Handbook on Civil Discovery Practice (2019), at 62.

         Therefore, this Court should compel SSDM to answer MFF’s RFA.

  IV.    SSDM Should be Sanctioned.
         Under the Eleventh Circuit’s view, “boilerplate objections may border on a frivolous

  response to discovery requests.” Steed v. EverHome Mortg. Co., 308 F. App'x 364, 371 (11th Cir.

  2009). Under Rule 37, sanctions for discovery violations include: “(1) the payment of reasonable

  expenses caused by the failure; (2) designating facts as established as the prevailing party claims;

  (3) prohibiting the disobedient party from opposing designated claims or introducing designated


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  matters into evidence; (4) striking the pleadings in whole or in part; (5) staying the proceeding

  until the order is obeyed; (6) dismissing the action or proceeding in whole or in part; and (7)

  rendering a default judgment against the disobedient party.” Steed v. EverHome Mortg. Co., 308

  F. App’x 364, 370 (11th Cir. 2009).

         The boilerplate objections made by SSDM to all MFF’s Discovery Request is vexatious

  and warrants sanctions here. As a result, MFF has incurred unnecessary attorneys’ fees and costs

  in filing this Motion and SSDM should be ordered to pay.

                                           CONCLUSION

         Based on the foregoing, MFF requests that this Court enter an order: (1) compelling SSDM

  to produce documents that are responsive to MFF’s First Set of Request for Production, to answer

  MFF’s First Set of Interrogatories, and to respond to MFF’s First Set of Requests for Admission;

  (2) sanctioning SSDM by ordering to pay MFF the expenses and attorney’s fees incurred as a result

  of SSDM’s invalid boilerplate objections; and, (3) reserving the rights to impose additional

  sanctions under Rule 37 should SSDM fail to comply with (1) within 15 days; and (4) granting

  such other relief as the Court deems just and equitable.

                                CERTIFICATE OF CONFERRAL

         I hereby certify that, pursuant to S.D. FLA. L.R. 7.1.A.3, from March 11, 2024, to the

  present, the undersigned made multiple efforts to confer with SSDM to resolve the relief sought

  in this Motion. On March 11, 2024, the undersigned reached out to Haug Partners LLP, then-

  counsel of SSDM, to confer about SSDM’s discovery responses. The Court granted Haug

  Partners’s motion to withdraw as SSDM’s counsel before the scheduled conferral took place. The

  undersigned then attempted to confer with Ms. Bettsimar Diaz by contacting her via email on

  March 15, 2024, asking her to propose three time slots on or before March 20, 2024, to discuss by



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  phone. The undersigned followed upon again on March 18, 2024. As of the date of filing of this

  Motion, undersigned has not received any return correspondence from Ms. Diaz.

  DATE: March 20, 2024.                      DIAZ REUS & TARG, LLP
                                             100 Southeast Second Street, Suite 3400
                                             Miami, Florida 33131
                                             Telephone (305) 375-9220

                                             By: /s/ Zhen Pan
                                             Javier Coronado Diaz
                                             Florida Bar No. 558442
                                             Email: jcoronado@diazreus.com
                                             Ishmael Green
                                             Florida Bar No. 109100
                                             Email: igreen@diazreus.com
                                             Zhen Pan
                                             Florida Bar No. 123637
                                             Email: zpan@diazreus.com
                                             Prince-Alex Iwu
                                             Florida Bar No. 1044670
                                             Email: piwu@diazreus.com


                                             FRIEDLAND VINING, P.A.

                                             9100 S. Dadeland Blvd., Suite 1620
                                             Miami, FL 33156
                                             (305) 777-1721 – telephone
                                             (305) 456-4922 – facsimile

                                             David K. Friedland
                                             Florida Bar No. 833479
                                             Email: dkf@friedlandvining.com
                                             Jaime Rich Vining
                                             Florida Bar No. 030932
                                             Email: jrv@friedlandvining.com

                                             Attorneys for Defendants/Counter-Plaintiff




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                                  CERTIFICATE OF SERVICE

          I hereby certify that on March 20, 2024, I caused a true and correct copy of the foregoing

   Motion to be electronically filed with the Clerk of Court, and emailed and mailed to Sucesión

   Simon Diaz Marquez and Bettsymar Diaz using the following information:

          3921 N. Meridian Ave., Apt. A Miami Beach, FL 33140
          c/o Ms. Bettsimar Diaz
          bettsimar.diaz@gmail.com


                                               By: /s/ Zhen Pan
                                                   Zhen Pan




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